      Case 1:10-cr-00005-JL   Document 13   Filed 03/15/10   Page 1 of 8




                UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                 Criminal No. 10-cr–005-02-JL

Christopher Leclerc


                  ORDER OF DETENTION PENDING TRIAL


     In accordance with Section 3142(f) of the Bail Reform Act,

18 U.S.C. §§ 3141 et seq., a hearing was conducted on March 12,

2010, for the purpose of determining whether to detain defendant,

Christopher Leclerc, who has been indicted on one (1) count of

Conspiracy to Distribute, and to Possess with Intent to

Distribute, Oxycodone in violation of 21 U.S.C. § 846, and four

(4) counts of Distribution of Oxycodone in violation of 21 U.S.C.

§ 846(a)(1).

     After being arrested in Florida on a warrant issued in this

case, the defendant appeared before Magistrate Judge Wilson in

the Middle District of Florida on February 22, 2010.             At that

hearing, at which the defendant was represented by counsel, the

defendant elected to request a detention hearing.            After hearing

argument on the issue, Magistrate Judge Wilson found in part as
      Case 1:10-cr-00005-JL   Document 13   Filed 03/15/10    Page 2 of 8




follows:

           [T]here may well be conditions of release that
           would reasonably assure [the defendant's]
           appearance. However, an unsecured bond is not one
           of them. Since, at this point, the defendant has
           not proposed any conditions of release that would
           reasonably assure his appearance, he will be
           detained.

     At defendant's arraignment on this date, his counsel

requested to relitigate the issue of detention.              In support of

his argument, the defendant cited to 18 U.S.C. § 3142(f), which

provides in pertinent part that "[t]he [detention] hearing may be

reopened ... [if] information exists that was not known to the

movant at the time of the hearing and that has a material bearing

on the issue whether there are conditions of release that will

reasonably assure the appearance of [the defendant] as required

and the safety of any other person and the community."

Specifically, the defendant argues that at the first hearing, 1)

he was in no position to present his mother as a third-party

custodian at the prior hearing, 2) information regarding his

employment history was inaccurately presented, and 3) counsel in

Florida committed a tactical error in requesting a detention

hearing.   Without belaboring the point, the court finds that none

of these points can reasonably be characterized as "information"



                                     2
      Case 1:10-cr-00005-JL   Document 13   Filed 03/15/10   Page 3 of 8




that was not known to the defendant at the time of the prior

hearing and, as a result, he was not entitled to reopen the

detention issue at this time.       In the event this court could be

determined to have erred on this point, however, it permitted the

defendant to present argument and develop the record on the issue

of detention and considered the issue de novo.

     Under 18 U.S.C. § 3142(b), a court, in making a

determination regarding detention, must evaluate the risk of the

defendant’s flight, the risk to the safety of any other person,

and the risk to the safety of the community.           In circumstances

when detention is not mandated by the court, the court is

nonetheless empowered to impose conditions on release.              18 U.S.C.

§ 3142(c).

     Pursuant to the provisions of 18 U.S.C. § 3142(g) a court,

in assessing the risks noted in 18 U.S.C. § 3142(b), shall

consider the following: (1) the nature and circumstances of the

offense charged; (2) the weight of the evidence as to guilt;

(3) the history and characteristics of the accused, including

family ties, past history, financial resources and employment;

and (4) the nature and seriousness of the danger to any person or

the community that would be posed by a release.



                                     3
      Case 1:10-cr-00005-JL   Document 13   Filed 03/15/10   Page 4 of 8




     During the course of a hearing conducted pursuant to 18

U.S.C. § 3142, the government typically retains the burden of

persuading the court that “‘no condition or combination of

conditions will reasonably assure’ the defendant’s presence at

trial.”   United States v. Perez-Franco, 839 F.2d 867, 870 (1st

Cir. 1988)(quoting United States v. Palmer-Contreras, 835 F.2d

15, 17-18 (1st Cir. 1987)); United States v. Patriarca, 948 F.2d

789, 793 (1st Cir. 1991).      For its part, the government is

required to offer clear and convincing evidence of dangerousness

and a preponderance of the evidence to prove risk of flight.               See

Patriarca, 948 F.2d at 792-93.       Facts necessary to find that no

combination will reasonably assure the safety of any person and

the community require satisfaction of the “clear and convincing”

standard.   18 U.S.C. § 3142(f)(2).

     In specific instances, delineated in 18 U.S.C. § 3142(e), a

presumption arises that no condition or combination of conditions

will reasonably assure the appearance of a defendant and the

safety of the community.      Among the instances where a presumption

arises is the situation where,

     the judicial officer finds that there is probable cause to
     believe that the person committed an offense for which a
     maximum term of imprisonment of ten years or more is
     prescribed in the Controlled Substances Act (21 U.S.C. 801
     et seq) . . . .

18 U.S.C. § 3142(e).

                                     4
       Case 1:10-cr-00005-JL   Document 13   Filed 03/15/10   Page 5 of 8




      In this case, the indictment itself establishes probable

cause to believe that the offenses charged have been committed

and that the defendant has committed them.           Further, the offenses

charged against defendant are ones for which a maximum term of

imprisonment is ten years or more, as prescribed in the

Controlled Substances Act, 21 U.S.C. §§ 801 et seq.              See United

States v. Dillon, 938 F.2d 1412, 1417 (1st Cir. 1991).               Thus,

Section 3142(e)’s rebuttable presumption that “no condition or

combination of conditions will reasonably assure [defendant’s]

appearance . . . and the safety of the community . . .” is

triggered in this case.        See 18 U.S.C. § 3142(e), (f); 21 U.S.C.

§ 841(b)(1)(C); see also United States v. Vargas, 804 F.2d 157,

162-63 (1st Cir. 1986).

      In order to counter the statutory presumption trigger, the

defendant must present evidence which demonstrates that “what is

true in general is not true in [his] particular case.”               United

States v. Jessup, 757 F.2d 378, 384 (1st Cir. 1985).              Notably,

the burden is one of production, not of persuasion.              Id. at 380-

81.

      Here, the court finds that the defendant failed to rebut the

presumption with regard to risk of flight and danger to the


                                      5
      Case 1:10-cr-00005-JL   Document 13   Filed 03/15/10   Page 6 of 8




community.    Specifically, the charges involve drugs offenses and

a conspiracy count for which the defendant may be facing a

substantial period of incarceration.        The weight of the evidence

was substantial and uncontroverted.         The defendant, who is just

twenty-four (24) years old, has been assembling a record of

offenses since he was seventeen (17) years old, recently

culminating in a Simple Assault charge and an apparently

unrelated Domestic Violence Petition Restraining Order in 2009.

     Significantly, the defendant also has a history of non-

appearance.   He was sentenced for Bail Jumping in 2006, the

circumstances of which were not explained upon questioning from

the court at the detention hearing.         He also minimized the

circumstances surrounding a bench warrant that issued for his

failure to appear on a state court charge, initially indicating

he that he was aware of the court date but was having back

problems requiring medical treatment at that time.            It was

further developed, however, that the warrant was outstanding (and

the defendant was a fugitive) for nearly one (1) year, that the

defendant made no attempt to resolve the warrant or otherwise

contact the court, and that it was only executed when he was

arrested on the Simple Assault charge in 2009.           On the issue of



                                     6
      Case 1:10-cr-00005-JL   Document 13   Filed 03/15/10   Page 7 of 8




risk of flight, the court also believes it significant that the

defendant absented himself from the State of New Hampshire within

weeks after the indictment was returned in this case.             Finally,

the report from Pretrial Services documents on-going substance

abuse problems, which were also minimized by the defendant during

the detention hearing and, in the court's opinion, in the

interview with Pretrial Services in the Middle District of

Florida (e.g. claimed not used marijuana in three (3) years and

Percocet or Oxycontin for eight months, but admitted used both

while on "vacation" in Florida in February of 2010 just prior to

arrest).

     Thus, for all of these reasons, the court finds the

defendant has failed to rebut the presumption with regard to risk

of flight and danger to the community.         Aside from the

presumption imposed in this case by 18 U.S.C. § 3142(e), I am

satisfied from the representations offered during the hearing

that no condition or combination of conditions will reasonably

assure the appearance of the defendant.

     Upon full consideration of the arguments offered by the

government and defense, I am satisfied that the defendant has not




                                     7
         Case 1:10-cr-00005-JL   Document 13   Filed 03/15/10   Page 8 of 8




rebutted with any credible evidence the presumption that he poses

a serious risk of flight and a danger to the community.

        Accordingly, it is ORDERED that the defendant be detained

pending trial.

        The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.       The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel.                    On

order of a court of the United States or on request of an

attorney for the Government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection

with a court proceeding.

        SO ORDERED.

                                            s/s Daniel J. Lynch
                                            Daniel J. Lynch
                                            United States Magistrate Judge

Date:     March 15, 2010

cc:       Theodore M. Lothstein, Esq.
          William E. Morse, AUSA
          U.S. Marshal
          U.S. Probation

                                        8
